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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Eric Zepeda
                                               Plaintiff,
v.                                                          Case No.: 1:17−cv−05583
                                                            Honorable Robert W.
                                                            Gettleman
Kimpton Hotel & Restaurant Group, LLC, et
al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 13, 2018:


       MINUTE entry before the Honorable Robert W. Gettleman: Status hearing held on
2/13/2018. By agreement, this case is dismissed without prejudice with leave to reinstate
by 3/20/2018. Civil case terminated. Mailed notice (cn)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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